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                       IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW MEXICO


UNITEDS STATES OF AMERICA,

                              Plaintiff,

vs.                                                             No. 21-CR-0668-JB


TIFFANY ROBINSON,

                              Defendant.

            UNOPPOSED MOTION TO AMEND CONDITIONS OF RELEASE

       Defendant Tiffany Robinson (“Ms. Robinson”), through undersigned counsel, moves to

modify her conditions of release. In support of this motion, Ms. Robinson states as follows:

       1.      On May 12, 2021, Ms. Robinson was indicted and charged with Possession with

Intent to Distribute 50 Grams and More of Methamphetamine, in violation of 21 U.S.C. § §

841(a)(1) and (b)(1)(A), and Felon in Possession of a Firearm, in violation of 18 U.S.C. § §

922(g)(1) and 924.

       2.      On June 10, 2021, Ms. Robinson was arrested at her home in Farmington, New

Mexico.

       3.      On June 15, 2021, U.S. Magistrate Judge Laura Fashing ordered Ms. Robinson

detained pending trial (Doc. 15).

       4.      On August 8, 2021, Ms. Robinson filed a Motion Appealing Detention Order

(Doc. 19). A hearing was held on her Motion Appealing Detention Order on September 23,

2021. At the conclusion of the hearing, and subject to bed or space availability, the Court ordered
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Mr. Robinson released to the custody of the La Pasada Halfway House subject to a “Home

Incarceration” restriction.

       5.      On October 15, 2021, the Court filed an Order Setting Conditions of Release

(Doc. 32). Pursuant to ¶ 7(p)(iii) of said Order, Ms. Robinson was subject to a “Home

Incarceration” restriction at the La Pasada Halfway House.

       6.      Since being transferred from the Cibola County Detention Center to the La Pasada

Halfway House on October 15, 2021, Ms. Robinson has been in compliance with her conditions

of release, including complete adherence to the “Home Incarceration” restriction, testing

negative on all drug tests, and attending and participating in substance abuse therapy and

counseling. Currently, Ms. Robinson wishes to seek employment. This requires an amendment of

the Court’s Order Setting Conditions of Release, that is substituting the currently existing “Home

Incarceration” restriction, referenced in ¶ 7(p)(iii) of said Order, for the “Home Detention”

restriction, also referenced in ¶ 7(p)(ii) of said Order. The definition of the term “Home

Detention”, as contained in said Order, would authorize Mr. Robinson to leave the halfway

house for authorized employment purposes.

       7.      U.S. Pretrial Services Officer Krystle Avrit has worked closely with Ms.

Robinson since her release to the halfway house. Ms. Avrit does not oppose this motion.

       8.      AUSA Shana Long does not oppose this motion.

       9.      WHEREFORE, based on the foregoing, Defendant Tiffany Robinson respectfully

requests that this Court continue her on conditions of release as previously imposed in the

Court’s Order Setting Conditions of Release (Doc. 32), with the sole exception being that in ¶




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7(p) of said Order, her “Home Incarceration” restriction be substituted for a “Home Detention”

restriction.




                                                   Respectfully Submitted:

                                            By:    /s/ Joe M. Romero, Jr.
                                                   Joe M. Romero, Jr.
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                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 7th day of December 2021, I filed the foregoing
electronically through the CM/ECF system and served the same to opposing counsel.

By:     /s/ Joe M. Romero, Jr.
        Joe M. Romero, Jr.




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